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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 19-22128-CIV-SMITH

  WOOD MOUNTAIN FISH LLC, et al.,

         Plaintiffs,

  v.

  MOWI ASA, et al.,

        Defendants.
  _______________________________________/

            ORDER GRANTING IN PART PLAINTIFFS’ UNOPPOSED
     MOTION FOR LEAE TO FILE SECOND AMENDED COMPLAINT UNDER
  SEAL AND SET BRIEFING SCHEDULE FOR DEFENDANTS’ MOTION TO DISMISS

         This matter is before the Court on Plaintiffs’ Unopposed Motion for Leave to File Second

  Amended Complaint Under Seal and Set Briefing Schedule for Defendants’ Motion to Dismiss

  [DE 203] (the “Motion”). In their Motion, Plaintiffs request (1) leave for Plaintiffs’ to file their

  proposed Second Amended Complaint; (2) permission to file the Second Amended Complaint

  under seal; and (3) a briefing schedule for Defendants’ anticipated joint motion to dismiss. With

  respect to Plaintiffs’ request for briefing schedule, Plaintiffs propose that Defendants be allotted

  sixty days to file a response to the Second Amended Complaint. Plaintiffs further propose that, in

  the event Defendants file a motion to dismiss, Plaintiffs be allotted sixty days to file any response

  in opposition, followed by an addition thirty days for Defendants to file a reply. Upon review, it

  is
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         ORDERED that Plaintiffs’ Unopposed Motion for Leave to File Second Amended

  Complaint Under Seal and Set Briefing Schedule for Defendants’ Motion to Dismiss [DE 203] is

  GRANTED IN PART.

         1. Plaintiffs shall file their Second Amended Complaint no later than July 30, 2021.

         2. Plaintiffs may file their Second Amended Complaint under seal, with a redacted version

            filed publicly, in accordance with all applicable local and federal rules.

         3. Defendants shall file a response to the Second Amended Complaint no later than

            September 10, 2021.       If Defendants response to the Second Amended Complaint

            includes a motion to dismiss, Plaintiffs shall file any response in opposition to such a

            motion to dismiss no later than October 22, 2021. Thereafter, Defendants shall have

            until November 12, 2021 to file any reply in support of their motion. Absent good

            cause, no further extensions shall be granted.

         DONE AND ORDERED in Fort Lauderdale, Florida on this 22nd day of July, 2021.




  cc:    Counsel of record




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